

Ader v Ader (2021 NY Slip Op 02234)





Ader v Ader


2021 NY Slip Op 02234


Decided on April 13, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 13, 2021

Before: Renwick, J.P., Kern, Singh, Scarpulla, JJ. 


Index No. 350006/20 Appeal No. 13561 Case No. 2020-04813 

[*1]Julie Ader, Plaintiff-Respondent,
vJason Ader, Defendant-Appellant.


Judd Burstein, P.C., New York (Judd Burstein of counsel), for appellant.
Michele A. Katz, PLLC, New York (Michele A. Katz of counsel), for respondent.
Cardi &amp; Edgar LLP, New York (Dawn M. Cardi of counsel), attorney for the children.



Order, Supreme Court, New York County (Michael L. Katz, J.), entered December 8, 2020, which, to the extent appealed from as limited by the parties' stipulation and granted plaintiff's cross motion insofar as it found him in contempt for violation of an order of the court dated October 7, 2020, unanimously reversed, on the law and the facts, and the cross motion denied, without costs.
We note that while Supreme Court found that defendant violated the "clear intent" of the October 7, 2020 order, it did not state which terms of the order defendant violated. Moreover, plaintiff does not address defendant's arguments regarding the contempt finding premised on his violation of the court's October 7, 2020 order. Accordingly, we vacate that contempt finding. However, there remains a finding of contempt based on defendant's violation of the court's July 17, 2020 order, from which he did not appeal. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 13, 2021








